                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:01cr186-2

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
Vs.                                                )              ORDER
                                                   )
CHARLES A. SHERRILL,                               )
                                                   )
                 Defendant.                        )
_______________________________                    )

       THIS MATTER is before the court on petitioner’s Motion for Leave to Amend Pre-

Sentence Investigation Report (#35). In that motion, defendant states that the Bureau of

Prisons (“BOP”) has declined his application to participate in the Residential Drug Abuse

Treatment Program (“RDAP”) because the Presentence Report must show a qualifying

substance abuse problem. He states that this court “recommended that Sherrill enroll in, and

complete a one-hundred (100) hour and five-hundred (500) hour substance abuse

program....” Defendant goes on to state that the pretrial services officer failed to get all the

facts and asks that this court amend his PSR to reflect that he has an ongoing drug problem.

       First, the court made no recommendation as to participation in a 100 or 500 hour

program. The court actually recommended, as follows:

              [That defendant] Participate in any available substance abuse
              treatment programs while incarcerated and if eligible receive
              benefit of 18:3621(e)(2).

Judgment (#29), at 2. Second, the portion of the PSR that addresses defendant’s problems

with substance abuse provides as follows:

       Substance Abuse

       52.    The defendant reports that he started drinking alcohol and smoking
              marijuana when he was in high school. He drank on the weekends and


                                             -1-



       Case 3:10-cr-00186-FDW          Document 36       Filed 03/08/12     Page 1 of 4
               smoked every chance he had. He has not used either substance since
               1995. Because of his history, he attended the substance abuse treatment
               program at Central Jail. At the time of the presentence interview, he
               was in transition from the 28-day program to the continuing
               care/aftercare program. Mr. Sherrill reports that he also attended
               outpatient substance abuse treatment in 1995 following his second
               Driving While Impaired conviction. Although he knew the location of
               the clinic, he was unable to recall the name of the facility.

PSR (#26), at 12.1 Such report suggests to this court that at the time of sentencing defendant

was still struggling with addiction as he was transitioning from a 28-day program to

aftercare. The court would read that portion of the PSR as suggesting that defendant was

suffering from dependency issues at the time of sentencing, resulting in the limited

recommendation that he “[p]articipate in any available substance abuse treatment programs

while incarcerated and if eligible receive benefit of 18:3621(e)(2).” Whether such is

sufficient to receive the full benefit of RDAP is not, however, for this court to decide and is

left up to the sound and final determination of the BOP. Indeed, this court cannot afford

defendant the relief he seeks because, according to 18 U.S.C. § 3582, “[t]he court may not

modify a term of imprisonment once it has been imposed.” 18 U.S.C. § 3582. None of the

exceptions to such rule apply here. See 18 U.S.C. § 3582 (c)(1)(A),(B).

       Although defendant’s request is not something this court can grant, the court may

make a recommendation to the BOP that an inmate be allowed to participate in a particular

program. The court’s recommendation is not binding on the BOP. The court understands

that there are eligibility requirements for the Residential Drug Treatment Program. Under the

BOP’s criteria for placement in the program, the petitioner must have a “verifiable

documented drug problem.” Federal Bureau of Prisons, U.S. Dept. of Justice, Drug Abuse

Programs Manual - Inmate, Program Statement 5330.10 (1997). In order to demonstrate

       1
               The court unseals such report only to extent necessary to address plaintiff’s
specific concern.
                                               -2-



       Case 3:10-cr-00186-FDW           Document 36        Filed 03/08/12     Page 2 of 4
such a drug problem, “[t]he inmate must meet the diagnostic criteria for substance abuse or

dependence indicated in the Diagnostic and Statistical Manual of the Mental Disorders,

Fourth Edition, (DSM - IV).” Id. Under the DSM-IV criteria, an inmate must demonstrate

drug use at least a year prior to sentencing to be diagnosed as has having a drug problem.

       The court has reviewed the original judgment in this matter and petitioner’s

Presentence Report. The pretrial services report documented defendant’s participation in an

intensive outpatient drug treatment program while on pretrial release and then participation

in aftercare. Based on such information, the court will make a non-binding recommendation

that Bureau of Prisons closely review petitioner’s history of drug abuse and participation in

an outpatient drug treatment program sponsored by the court while on pretrial release.

                                            ***

       Defendant is advised that this is the most the court can do as the decisions of the BOP

are not subject to review by this court.



                                           ORDER

       IT IS, THEREFORE, ORDERED that petitioner’s Motion for Leave to Amend

Pre-Sentence Investigation Report (#35) is hereby DENIED; however, the court makes a

non-binding RECOMMENDATION as follows:

              in considering whether petitioner qualifies for the Residential
              Drug Treatment Program, that the Bureau of Prisons closely
              review petitioner’s history of drug abuse and participation in an
              intensive outpatient drug treatment program sponsored by the
              court while on pretrial release, as documented in the original
              Presentence Report. If the Bureau of Prisons determines that
              petitioner qualifies for participation in its program, the court
              would recommend that he be allowed to participate in that
              opportunity as defendant could benefit from further counseling
              on issues of addiction.



                                            -3-



       Case 3:10-cr-00186-FDW         Document 36      Filed 03/08/12     Page 3 of 4
      The Clerk of this court is respectfully instructed to send a copy of this Order to the

Warden of FCI Morgantown for consideration by petitioner’s case manager and to Officer

Golden, USPO, for further review of any notes concerning defendant’s substance abuse and

to provide any information to the case manager that may be helpful.




                                            Signed: March 8, 2012




                                           -4-



      Case 3:10-cr-00186-FDW        Document 36       Filed 03/08/12    Page 4 of 4
